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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              OCALA DIVISION
CARLOS BAYON,

      Plaintiff,

v.                                                    Case No: 5:21-cv-399-WFJ-PRL
BRIAN J. DAVIS, DEPARTMENT OF
JUSTICE, and UNITED STATES OF
AMERICA,

      Defendants.
___________________________________

                                        ORDER

      Plaintiff initiated this action on August 8, 2021 by filing a pro se Civil Rights

Complaint (Doc. 1). As of the date of this Order, Plaintiff has not filed a motion to

proceed in forma pauperis, paid the filing fee, or requested an extension of time in which

to do so.

      ACCORDINGLY, it is hereby ORDERED:

      1.     This case is DISMISSED without prejudice.

      2.     The Clerk of Court is directed to enter judgment accordingly, terminate

any pending motions, and close this file.

      DONE and ORDERED in Tampa, Florida on December 3, 2021.




Copies furnished to: Pro Se Party
